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                         FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT

        EPIC GAMES, INC.,                        No. 21-16506

               Plaintiff-counter-                   D.C. No.
               defendant-Appellant,              4:20-cv-05640-
                                                      YGR
          v.

        APPLE, INC.,                                ORDER

               Defendant-counter-claimant-
               Appellee.


        EPIC GAMES, INC.,                        No. 21-16695

               Plaintiff-counter-                   D.C. No.
               defendant-Appellee,               4:20-cv-05640-
                                                      YGR
          v.

        APPLE, INC.,

               Defendant-counter-claimant-
               Appellant.

                           Filed July 17, 2023
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            Before: SIDNEY R. THOMAS and MILAN D. SMITH,
              JR., Circuit Judges, and MICHAEL J. MCSHANE,*
                                 District Judge.

                                  Order;
                       Concurrence by Judge M. Smith


                                    ORDER

            Apple’s Motion to Stay the Mandate (Dkt No. 247) is
        GRANTED. Pursuant to Rule 41(d) of the Federal Rules of
        Appellate Procedure, the mandate is stayed for 90 days to
        permit the filing of a petition for writ of certiorari in the
        Supreme Court. Apple must notify the Court in writing that
        the petition has been filed, in which case the stay will
        continue until the Supreme Court resolves the petition. See
        Fed. R. App. P. 41(d)(2)(B)(ii). Should the Supreme Court
        grant certiorari, the mandate will be stayed pending
        disposition of the case. Should the Supreme Court deny
        certiorari, the mandate will issue immediately. The parties
        shall advise this Court immediately upon the Supreme
        Court’s decision.




        *
          The Honorable Michael J. McShane, United States District Judge for
        the District of Oregon, sitting by designation.
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        M. SMITH, Circuit Judge, concurring in the granting of the
        motion for a stay of the mandate pending the filing of a
        petition for certiorari:

             Given our general practice of granting a motion for a stay
        if the arguments presented therein are not frivolous, I have
        voted to grant Apple’s motion. See United States v. Pete,
        525 F.3d 844, 850 (9th Cir. 2008) (it is “often the case” that
        our court stays the mandate while a party seeks certiorari). I
        write separately to express my view that, while the
        arguments in Apple’s motion may not be technically
        frivolous, they ignore key aspects of the panel’s reasoning
        and key factual findings by the district court. When our
        reasoning and the district court’s findings are considered,
        Apple’s arguments cannot withstand even the slightest
        scrutiny. Apple’s standing and scope-of-the-injunction
        arguments simply masquerade its disagreement with the
        district court’s findings and objection to state-law liability as
        contentions of legal error.
                               I. STANDING
            Because Apple’s anti-steering provision negatively
        affects the revenue Epic earns through the Epic Games Store,
        Epic had standing to seek injunctive relief against that
        provision pursuant to California’s Unfair Competition Law
        (UCL), Cal. Bus. & Prof. Code § 17200 et seq.
            To establish standing, a plaintiff must have “suffered an
        injury in fact that is concrete, particularized, and actual or
        imminent.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190,
        2203 (2021). “[M]onetary harms” are one of the “[m]ost
        obvious” types of harm that satisfy the injury-in-fact
        requirement. Id. at 2204.
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            Epic has “three primary lines of business, each of which
        figures into various aspects of [this case].” Epic Games, Inc.
        v. Apple, Inc. (Epic II), 67 F.4th 946, 967 (9th Cir. 2023).
        First, Epic is a “video game developer—best known for the
        immensely popular Fortnite.” Id. Second, Epic is the “the
        parent company of a gaming-software developer” (Epic
        International), which still has several apps on Apple’s App
        Store. Id. Third, Epic is “a video game publisher and
        distributor,” offering “the Epic Games Store as a game-
        transaction platform” on multiple devices. Id. at 968. In this
        last role, Epic is “a direct competitor” of Apple’s App Store
        “when it comes to games that feature cross-platform
        functionality like Fortnite.” Id.
            As the panel opinion explained, the second and third
        lines of business—not the first—give rise to an injury in fact.
        See id. at 1000. As the parent company of Epic International,
        Epic is harmed because its subsidiary still has apps on the
        App Store that are subject to the anti-steering provision. As
        a games distributor, Epic is harmed because app developers
        cannot direct, with the promise of lower prices, their users to
        the Epic Games Store, which takes a significantly lower
        commission on app purchases than the App Store. As we
        explained: “[Epic] offers a 12% commission compared to
        Apple’s 30% commission. If consumers can learn about
        lower app prices, which are made possible by developers’
        lower costs, and have the ability to substitute to the platform
        with those lower prices, they will [almost always] do so—
        increasing the revenue that the Epic Games Store generates.”
        Id.
            Such monetary loss is hornbook injury-in-fact, and
        Apple’s arguments to the contrary misconstrue both our
        decision and the record. Apple asserts that Epic lacks
        standing because “Epic’s developer program account has
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        been terminated,” meaning Epic “has no apps on the App
        Store.” But we did not conclude, as Apple’s argument
        suggests, that Epic was injured in its role as a video game
        developer (i.e., as the creator of the since-removed Fortnite).
        We recognized at the very start of our standing analysis that
        Apple had “terminated Epic’s iOS developer account,” and
        instead determined that Epic suffered an injury-in-fact in its
        role as a parent company and competing games distributor.
        Id. at 1000.
             Regarding these two bases on which we actually
        determined standing, Apple offers only the conclusory
        statement that “no trial evidence or findings by the district
        court” support them. However, that assertion is simply false.
        Regarding Epic’s role as the parent of Epic International, the
        record contains screenshots showing that Epic International
        still has six apps on the App Store, even though the parent
        company’s developer account has been terminated.
             The record is also filled with support for the common-
        sense proposition that Epic is harmed as a competing games
        distributor because consumers would shift some of their
        spending from the App Store to the Epic Games Store if
        developers could communicate the availability of lower
        prices on the latter. To begin, Apple’s own internal
        documents conclude that two of the “most effective
        marketing activities” are “push notifications” and “email
        outreach,” which are the two practices prohibited by Apple’s
        anti-steering provision. Epic Games, Inc. v. Apple Inc. (Epic
        I), 559 F. Supp. 3d 898, 1054 (N.D. Cal. 2021); see also Epic
        II, 67 F.4th at 1001. Moreover, before the district court,
        Apple defeated Epic’s proposed market definition for its
        Sherman Act claims based on the very kind of factual
        findings that it now claims are non-existent. The district
        court found that video games increasingly can be “ported
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        across multiple devices” because of the growing prevalence
        of cross-platform functionality. Epic I, 559 F. Supp. 3d at
        985; see also Epic II, 67 F.4th at 967 (describing “cross-
        play,” “cross-progression,” and “cross-wallet”). “[N]ot all
        games” feature cross-platform functionality, and some
        platforms have taken steps to limit it. Epic I, 559 F. Supp.
        3d. at 985. But when it comes to the games that do offer
        such cross-platform functionality, app-transaction platforms
        (like the App Store and Epic Games Store) “are truly
        competing against one another.” Id. The district court,
        therefore, rejected the contention that the App Store is a
        market unto itself and summarized its analysis as follows:
        “[N]either consumers nor developers are ‘locked-in’ to the
        App Store for digital mobile game transactions—they can
        and do pursue game transactions on a variety of other mobile
        platforms and increasingly other game platforms.” Id. at
        1026. Indeed, the district court found that Fortnite data
        provided a particularly vivid illustration: Between 32 and
        52% of Fortnite users play the game on multiple devices,
        and, after Fortnite was removed from the App Store, 87% of
        Fortnite spending that had occurred on iOS devices was
        shifted to other platforms. Id. at 961 & n.277.1
            Apple wants to have it both ways: On the merits, it
        argued that there was sufficient evidence to support a finding
        that consumers can, and do, substitute across various app-
        transaction platforms. But on standing, it now argues that


        1
          On appeal, the panel majority did not address the district court’s
        substitution factual finding, as we determined that Epic failed to make a
        required threshold showing for its proposed single-brand market: that the
        restrictions it alleged to cause consumer lock-in were “not generally
        known” to consumers when they purchased iOS devices in the
        foremarket. Epic II, 67 F.4th at 976–77, 980–81.
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        there would be absolutely no substitution if app developers
        could inform users of lower prices available on the Epic
        Games Store.
                     II. SCOPE OF THE INJUNCTION
            The district court did not abuse its discretion in enjoining
        Apple’s anti-steering provision as to all iOS developers
        because doing so was necessary to fully remedy the harm
        that Epic suffers in its role as a competing games
        distributor.2
            “[I]njunctive relief should be no more burdensome to the
        defendant than necessary to provide complete relief to the
        plaintiff[].” Califano v. Yamasaki, 442 U.S. 682, 702
        (1979); see also Epic, 67 F.4th at 1002 (setting forth the
        same rule). An injunction remedying a plaintiff’s harm may
        “affect[] nonparties[] [if] it does so only incidentally.”
        United States v. Texas, 2023 WL 4139000, at *12 (U.S. June
        23, 2023) (Gorsuch, J., concurring); see also Bresgal v.
        Brock, 843 F.2d 1163, 1170–71 (9th Cir. 1988) (“[A]n
        injunction is not necessarily made overbroad by extending
        benefit or protection to persons other than the prevailing
        parties in the lawsuit—even if it is not a class action—if such
        breadth is necessary to give prevailing parties the relief to
        which they are entitled.”).


        2
         Apple argues in its motion for a stay that the injunction will subject iOS
        users to “scams, fraud, and objectionable content.” But the district court
        expressly found that the anti-steering provision could be enjoined
        “without any impact on the integrity of the [iOS] ecosystem.” Epic I,
        559 F. Supp. 3d at 1055. Both the district court and our court upheld
        Apple’s ability to control what content can be downloaded on iOS
        devices. The injunction against the anti-steering provision simply allows
        developers to let users know that certain content (which Apple has itself
        chosen to allow access to) can be purchased at a lower price elsewhere.
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             Apple contends that the district court’s injunction
        impermissibly allowed Epic’s suit to proceed as a “de facto”
        class action in which Epic obtained nationwide injunctive
        “relief on behalf of others.” To paint this picture, it argues
        that “the panel never explained” how harm to Epic’s
        “subsidiaries justified an injunction applicable not only to . .
        . its subsidiaries, but also to all other U.S. developers.” Like
        its standing argument, this argument overlooks aspects of the
        panel opinion’s analysis that are inconvenient to its position
        and is incorrect. As the opinion explained, it was Epic’s role
        as a competing games distributor—not its role as a parent
        company—that justified application of the injunction
        beyond just Epic’s subsidiaries. As a games distributor, Epic
        is harmed by Apple’s anti-steering provision’s prevention of
        “other apps’ users from becoming would-be Epic Games
        Store consumers.” Epic II, 67 F.4th at 1003. Had the district
        court limited the injunction only to Epic’s subsidiaries’ apps
        on the App Store, the injunction would have “fail[ed] to
        address the full harm caused by the anti-steering provision.”
        Id. The injunction is thus consistent with the minimally-
        burdensome principle because the injunction’s “scope is tied
        to Epic’s injuries.” Id.
            Apple’s argument also overlooks that, in an antitrust suit
        brought by a competitor, injunctive relief will almost by
        definition have incidental benefits to non-parties—since
        antitrust law protects competition, not individual market
        participants. To be sure, it is the “the exception,” not the
        rule, for injunctive relief to incidentally affect non-parties—
        and such cases will likely be few and far between in most
        areas of law. Cachil Dehe Band of Wintun Indians of Colusa
        Indian Cmty. v. California, 618 F.3d 1066, 1084 (9th Cir.
        2010). But injunctions with incidental benefits for non-
        parties are the inevitable result when a competitor-plaintiff
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        makes the difficult showing that it is entitled to injunctive
        relief pursuant to state or federal competition law. As a
        threshold matter, a competitor-plaintiff must prove that the
        defendant’s conduct caused it a tangible injury as a
        competitor. But to ultimately prevail and obtain relief, it
        must prove that the defendant’s conduct harmed competition
        (i.e., consumers). This two-types-of-harm requirement
        necessarily means that relief will have two types of
        benefits—remedying the competitor’s harm in the main,
        while benefitting consumers incidentally.
              Begin with the statute at issue here: California’s UCL.
        To establish statutory standing, a competitor-plaintiff must
        have “suffered injury in fact and . . . lost money or property,”
        such that its bottom line as a competitor was negatively
        affected. Cal. Bus. & Prof. Code § 17204. But to win on the
        merits, a competitor-plaintiff must show that the defendant’s
        conduct “threatens an incipient violation of an antitrust law,
        . . . violates [antitrust law’s] policy or spirit . . . , or otherwise
        significantly threatens or harms competition.” Cel-Tech
        Commc’ns, Inc. v. L.A. Cellular Tel. Co., 20 Cal. 4th 163,
        186–87 (1999). Because antitrust’s goal is the “the
        protection of competition, not competitors,” Cargill, Inc. v.
        Monfort of Colo., Inc., 479 U.S. 104, 110 (1986), a
        competitor-plaintiff will win on the merits only if it proves
        that the defendant’s conduct harms consumers. Therefore,
        by the time a court is fashioning injunctive relief in a UCL
        competitor suit, the court has already determined both that
        (1) the defendant’s conduct caused the plaintiff-competitor
        to lose “money or property,” and (2) that the same conduct
        harmed consumers. Relief remedying (1) will necessarily
        have incidental benefits for the consumers found to have
        been harmed at (2). If that were not the case, then the
        plaintiff-competitor would not have prevailed on the merits.
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             Federal law imposes a similar two-types-of-harm
         requirement. To establish Article III standing, a plaintiff-
         competitor must have “suffered an injury in fact,” such as
         “monetary harm[].” TransUnion, 141 S. Ct. at 2203. But
         the plaintiff-competitor must also establish antitrust injury—
         that their “injury [is] of the type the antitrust laws were
         designed to prevent.” Cargill, 479 U.S. at 111, 117 (lost
         profits caused by competitor’s lower prices after merger are
         not antitrust injury).       Similarly, on the merits, the
         competitor-plaintiff must prove the defendant’s conduct
         harms consumers by, for example, decreasing output or
         raising prices. See Epic II, 67 F.4th at 983. If a competitor-
         plaintiff is able to serve two masters and establish Article III
         standing on the one hand and antitrust injury and liability on
         the other, then the competitor-plaintiff would have
         necessarily shown that the defendant’s conduct harms both
         the plaintiff as a competitor and consumers. So again, it is
         hardly surprising that the injunctive relief granted in such a
         case will carry incidental benefits for consumers.
             Consider, as an example, the Kodak-parts litigation that
         was the subject of the Supreme Court’s decision in Eastman
         Kodak Co. v. Image Technical Services, Inc., 504 U.S. 451
         (1992). Independent service organizations (ISOs) alleged
         that Kodak violated federal antitrust law by “adopt[ing]
         policies to limit the availability of parts to [the] ISOs to make
         it more difficult for ISOs to compete with Kodak in servicing
         Kodak equipment.”          Id. at 455. The Supreme Court
         affirmed our court’s denial of summary judgment, id. at 486;
         on remand, the ISOs prevailed in a jury trial and the district
         court entered an injunction requiring Kodak to sell its parts
         to ISOs on “reasonable and nondiscriminatory terms and
         prices.” Image Tech. Servs., Inc. v. Eastman Kodak Co., 125
         F.3d 1195, 1201 (9th Cir. 1997). The injunction remedied
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         the ISOs’ harm: their inability to compete for “large
         contracts” because they lacked “sufficient parts.” Id. at
         1222. But the injunction also incidentally benefited
         consumers by breaking up what the jury had found to be an
         unlawfully maintained monopoly. See id. at 1207–12. The
         injunction was challenged on several grounds, see id. at
         1224–25, but there was no hint of the radical argument that
         Apple now advances: that a competition-law injunction is
         invalid if it benefits consumers.
                              CONCLUSION
              Apple’s standing and scope-of-the-injunction arguments
         challenge an imagined panel opinion on an imagined record.
         When the panel opinion’s reasoning and the district court’s
         factual findings are fully considered, the motion’s arguments
         fall far short of establishing legal error.
